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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                           Case No. 07-20531
                                                           Honorable Thomas L. Ludington
v.

D-2 DEMETRESS LASHAWN BRYANT,

                      Defendant.
                                            /

             ORDER DENYING DEFENDANT’S MOTION FOR REDUCTION
                  OF SENTENCE AND REQUEST FOR COUNSEL

       Demetress Bryant is currently serving a 240-month sentence for distributing crack

cocaine. On November 11, 2011, Bryant filed a motion to reduce his sentence based on the

retroactive application of the Fair Sentencing Act. Based on what follows, Bryant’s motion will

be denied.

                                                I

       The Anti-Drug Abuse Act of 1986 established severe penalties for the possession and

distribution of crack cocaine. The disparity between the penalties for distributing crack cocaine

and powder cocaine was dramatic: 100-to-1. As the Supreme Court observed, the Act “imposed

upon an offender who dealt in powder cocaine the same sentence it imposed upon an offender

who dealt in one-hundredth that amount of crack cocaine.” Dorsey v. United States, 132 S. Ct.

2321, 2326 (2012).

       In 2010, Congress enacted the Fair Sentencing Act (FSA), which narrowed the disparity

between sentences for crack cocaine offenders and powder cocaine offenders. Instead of 100-to-

1, it now stands at 18-to-1. In other words, the FSA imposes upon an offender who dealt in
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powder cocaine the same sentence it imposes upon an offender who dealt in one-eighteenth that

amount of crack cocaine. The FSA took effect on August 3, 2010. Id. at 2329.

       The Sixth Circuit originally concluded that the FSA did not affect the penalties associated

with crimes committed before the statute’s effective date. See United States v. Carradine, 621

F.3d 575, 580 (6th Cir. 2010). But with Dorsey, the Supreme Court established that “Congress

intended the [FSA’s] new, lower mandatory minimums to apply to the post-Act sentencing of

pre-Act offenders.” 132 S. Ct. at 2335. Accordingly, the proper guidelines to consider when

sentencing a defendant are those in effect at the time of sentencing, not those in effect when the

underlying crime was committed.

                                                II

        On July 21, 2008, Bryant pleaded guilty to delivering 79 grams of cocaine base. Def.’s

Mot. 1, ECF No. 282; Rule 11 Agreement 1, ECF No. 139. A presentence report calculated

Bryant’s offense level as 31 and his criminal history as category V. Bryant’s resulting guidelines

range of imprisonment was 168 to 210 months. The presentence report also noted, however, that

because Bryant had a prior conviction, a mandatory minimum of 240 months applied. On

November 19, 2008, the Court sentenced Bryant to the lowest possible sentence—240 months’

imprisonment. See J. 2, ECF No. 188.

       As noted above, in 2010 Congress enacted the FSA, which substantially reduced the

mandatory minimums associated with crack cocaine offenders like Bryant. On November 21,

2011, Bryant filed a motion for retroactive application of the FSA. But the Sixth Circuit’s recent

en banc decision in United States v. Blewett, --- F.3d ----, 2013 WL 6231727 (6th Cir. Dec. 3,

2013) forecloses the possibility of relief. There, the en banc panel established that the FSA

“does not apply to defendants sentenced before its effective date.” Id. at *8. So because Bryant



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was sentenced before the FSA took effect in August 3, 2010, the Act’s reduced mandatory

minimums do not apply.

        On February 13, 2012, Bryant also filed a letter on the docket requesting the appointment

of counsel in this case. See Letter Request, ECF No. 291. Bryant indicates: “If I am supposed to

have an attorney to do these things please appoint me one.” Id. However, because Bryant’s

motion for retroactive application of the sentencing guidelines will be denied, his request for an

attorney will be denied as moot. See United States v. Black, No. 94-117, 2008 WL 2901781, at

*3 (E.D. Tenn. July 22, 2008) (denying motion for appointment of counsel as moot after the

court denied the “defendant’s Motion . . . Pursuant to 18 U.S.C. § 3582(c)”).

                                                      III

        Accordingly, it is ORDERED that Bryant’s motion for retroactive application of the

FSA, ECF No. 282, is DENIED.

        It is further ORDERED that Bryant’s request for counsel, ECF No. 291, is DENIED as

moot.

Dated: April 3, 2014                                                   s/Thomas L. Ludington
                                                                       THOMAS L. LUDINGTON
                                                                       United States District Judge


                                                   PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served upon
                        each attorney or party of record herein by electronic means or first class U.S.
                        mail, and upon Demetress Bryant #41862039, Federal Correctional Institution
                        Elkton, P.O. Box 10, Lisbon, OH 44432 by first class U.S. mail on April 3,
                        2014.
                                                                 s/Tracy A. Jacobs
                                                                 TRACY A. JACOBS




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